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                                                  #:170445

             1      MARK D. SELWYN, SBN 244180
                     mark.selwyn@wilmerhale.com
             2      THOMAS G. SPRANKLING, SBN 294831
                     thomas.sprankling@wilmerhale.com
             3      WILMER CUTLER PICKERING
                     HALE AND DORR LLP
             4      2600 El Camino Real, Suite 400
                    Palo Alto, CA 94306
             5      Tel.: 650.858.6000 / Fax: 650.858.6100
             6      JOSHUA H. LERNER, SBN 220755
                      joshua.lerner@wilmerhale.com
             7      WILMER CUTLER PICKERING
                     HALE AND DORR LLP
             8      One Front Street, Suite 3500
                    San Francisco, CA 94111
             9      Tel.: 628.235.1000 / Fax: 628.235.1001
           10       AMY K. WIGMORE, pro hac vice
                     amy.wigmore@wilmerhale.com
           11       WILMER CUTLER PICKERING
                      HALE AND DORR LLP
           12       2100 Pennsylvania Ave NW
                    Washington, DC 20037
           13       Tel.: 202.663.6000 / Fax: 202.663.6363
           14       [Counsel appearance continues on next page]
           15       Attorneys for Defendant Apple Inc.
           16                       UNITED STATES DISTRICT COURT
           17             CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION

           18       MASIMO CORPORATION,                           CASE NO. 8:20-cv-00048-JVS (JDEx)
                    a Delaware corporation; and
           19       CERCACOR LABORATORIES, INC.,
                    a Delaware corporation,
           20                                                     DECLARATION OF NORA
                                       Plaintiffs,                PASSAMANECK IN SUPPORT OF
           21                                                     APPLE’S SUPPLEMENTAL
                          v.                                      MEMORANDUM IN SUPPORT OF ITS
           22                                                     OPPOSITION TO PLAINTIFFS’
                    APPLE INC.,                                   MOTION FOR PROTECTIVE ORDER
           23       a California corporation,
           24                          Defendant.
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                      PASSAMANECK DECL. ISO APPLE’S SUPPL. MEMO. IN O’PPN TO MOTION FOR PROTECTIVE ORDER
Wilmer Cutler
                                              CASE NO. 8:20-cv-00048-JVS (JDEX)
Pickering Hale
and Dorr LLP
                 Case 8:20-cv-00048-JVS-JDE Document 1992-1 Filed 07/02/24 Page 2 of 3 Page ID
                                                  #:170446

             1      JOSEPH J. MUELLER, pro hac vice
             2       joseph.mueller@wilmerhale.com
                    SARAH R. FRAZIER, pro hac vice
             3       sarah.frazier@wilmerhale.com
                    WILMER CUTLER PICKERING
             4        HALE AND DORR LLP
                    60 State Street
             5      Boston, MA 02109
                    Tel.: 617.526.6000 / Fax: 617.526.5000
             6
                    NORA Q.E. PASSAMANECK, pro hac vice
             7       nora.passamaneck@wilmerhale.com
                    WILMER CUTLER PICKERING
             8       HALE AND DORR LLP
                    1225 Seventeenth Street, Suite 2600
             9      Denver, CO 80202
                    Tel.: 720.274.3152 / Fax: 720.273.3133
           10
                    BRIAN A. ROSENTHAL, pro hac vice
           11        brosenthal@gibsondunn.com
                    GIBSON, DUNN & CRUTCHER LLP
           12       200 Park Avenue
                    New York, NY 10166-0193
           13       Tel.: 212.351.2339 / Fax: 212.817.9539
           14       KENNETH G. PARKER, SBN 182911
                     Ken.parker@haynesboone.com
           15       HAYNES AND BOONE, LLP
                    660 Anton Boulevard, Suite 700
           16       Costa Mesa, CA 92626
                    Tel.: 650.949.3014 / Fax: 949.202.3001
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                                                  #:170447

             1      I, Nora Passamaneck, declare and state as follows:
             2            1.    I am a partner at the law firm of Wilmer Cutler Pickering Hale and Dorr
             3      LLP, counsel for Defendant Apple Inc. (“Apple”) in the above-captioned matter.
             4            2.    I make this Declaration in support of Apple’s Supplemental Memorandum
             5      in Support of its Opposition to Plaintiffs’ Motion for a Protective Order Precluding
             6      Defendant from Disclosing Plaintiffs’ Confidential Materials to Dr. Patrick Mercier.
             7            3.    I have personal knowledge of the facts stated herein and, if called upon to
             8      do so, could and would competently testify thereto.
             9            4.    Attached hereto as Exhibit L is the Supplemental Declaration of Patrick
           10       Mercier, Ph.D.
           11             I declare under penalty of perjury that the foregoing and the statements in my
           12       Reports are true and correct to the best of my knowledge.
           13             Executed this 2nd day of July, 2024.
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           16                                             By: /s/ Nora Passamaneck
           17                                             Nora Passamaneck
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